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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CENTRO DE TRABAJADORES UNIDOS,                        )
                                                       )
 Plaintiff,                                            )
                                                       )
         v.                                            )         Case No.
                                                       )
 UNITED STATES IMMIGRATION AND                         )
 CUSTOMS ENFORCEMENT,                                  )
                                                       )
 Defendant.                                            )


                          COMPLAINT FOR INJUNCTIVE RELIEF

        Centro de Trabajadores Unidos (CTU) brings this complaint for injunctive relief, and

states as follows in support thereof:

                                PRELIMINARY STATEMENT

        1.     The Freedom of Information Act (FOIA), 5 U.S.C. § 552 et seq., “was enacted to

promote transparency and accountability in how the federal government discharges its numerous

and far-ranging responsibilities.” Shapiro v. U.S. Dep’t of Justice, 153 F. Supp. 3d 253, 256

(D.D.C. 2016). FOIA provides a means for the public to access government documents and

“mandates that an agency disclose records upon request, unless they fall within one of nine

exemptions.” Id. at 257. FOIA also recognizes that the government cannot sit on its hands

forever; it must make timely determinations regarding what documents it possesses that are

responsive to a specific request, and when it will produce them. See 5 U.S.C. § 552(a)(6)(A)(i).

        2.     Defendant United States Immigration and Customs Enforcement (ICE) enforces

the United States’ immigration laws. These operations include auditing businesses regarding

whether they have verified the identity and employment eligibility of employees and documented



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that information using the federal Employment Eligibility Verification Form I-9. In a two-wave

operation in 2018, ICE delivered more than 5,200 I-9 audit notices to businesses across the

United States.

          3.     Plaintiff Centro de Trabajadores Unidos works with immigrant laborers in the

Chicago area, and submitted a FOIA request to understand how ICE’s operations affect its

constituents. These records are important for Plaintiff and other organizations in the Chicago

area that work with immigrants to understand how their constituencies may be affected by ICE’s

audits.

          4.     ICE has not made a determination on CTU’s FOIA request within the statutorily

mandated 20 working days for such determination (30 days with extension taken by ICE). 5

U.S.C. § 552(a)(6)(A)(i); 5 U.S.C. § 552(a)(6)(A)(ii). As a result, ICE is impeding CTU’s access

to these important records.

          5.     Administrative remedies under FOIA are deemed exhausted when an agency fails

to comply with the statute’s applicable time limits for making a determination on a given request.

5 U.S.C. § 552(a)(6)(C)(i). Having fully exhausted applicable administrative remedies for its

request, CTU now turns to this Court to enforce FOIA’s guarantee of public access to agency

records. Accordingly, CTU asks this Court to declare that ICE has violated FOIA, to order ICE

to provide CTU with the documents responsive to its request, and to grant other appropriate

relief, including attorney’s fees and costs.

                                               PARTIES

          6.     Plaintiff Centro de Trabajadores Unidos (CTU) is a 501(c)(3) not-for-profit

organization. It is an immigrant-run organization on the Southeast Side of Chicago that educates

workers on their rights, develops leadership within the immigrant community, supports and




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organizes all workers as they fight for their rights in the workplace, and fights for changing

policy that increases standards for all workers.

        7.      Defendant United States Immigration and Customs Enforcement (ICE) is an

agency of the United States Government within the meaning of 5 U.S.C. § 552(f)(1) and 5

U.S.C. § 552a(a)(1). ICE is headquartered at 500 12th St., SW, Washington, D.C. 20536.

                                  JURISDICTION AND VENUE

        8.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

1361 and 5 U.S.C. §§ 552(a)(4)(A)(vii) and (4)(B) and 5 U.S.C. §§ 701–06.

        9.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

1391(e)(1)(c) as Plaintiff CTU resides and has its primary place of business in the Northern

District of Illinois, and no real property is involved in this action.

                                     LEGAL BACKGROUND

        10.     FOIA “requires the government to disclose, upon request, broad classes of

documents identified in 5 U.S.C. § 552(a),” unless the documents are exempt under 5 U.S.C. §

552(b). See Prison Legal News v. Samuels, 787 F.3d 1142, 1146 (D.C. Cir. 2015).

        11.     FOIA imposes strict deadlines on federal agencies when they receive a request for

records pursuant to FOIA. First, an agency must acknowledge receipt of a FOIA request, in

writing, within ten days of receipt of the request, exclusive of weekends and legal public

holidays. 5 U.S.C. § 552(a)(7)(A).

        12.     Next, an agency must respond to a party making a FOIA request within twenty

days of receipt, exclusive of weekends and legal public holidays, notifying that party of the

agency’s determination whether to fulfill the request and of the requester’s right to appeal the

agency’s determination to the agency head. 5 U.S.C. § 552(a)(6)(A)(i). The D.C. Circuit has




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explained that to make a valid “determination” under the statute the agency must indicate “the

scope of the documents it will produce and the exemptions it will claim with respect to any

withheld documents.” Citizens for Responsibility & Ethics in Wash. v. FEC, 711 F.3d 180, 185-

86. 188 (D.C. Cir. 2013) (CREW); see also Seavey v. Dep’t of Justice, 266 F. Supp. 3d 241, 245

(D.D.C. 2017) (the agency must “(1) gather[] and review[] the [requested] documents; (2)

determin[e] and communicat[e] the scope of the documents it intends to produce and withhold,

and the reasons for withholding any documents; and (3) inform[] the requester that it can appeal

whatever portion of the ‘determination’ is adverse”).

       13.      The agency may extend the statutory twenty-day deadline only in “unusual

circumstances,” 5 U.S.C. § 552(a)(6)(B)(iii), and must then make the requested records

“promptly” available, id. § 552(a)(3)(A), (a)(6)(C)(i), except where it can establish that one of

FOIA’s narrow exemptions listed at § 552(b) applies.

       14.      When an agency fails to make a timely determination with respect to a perfected

FOIA request, a requester is deemed to have exhausted administrative remedies with respect to

the request and may immediately file suit in district court. 5 U.S.C. § 552(a)(6)(C); CREW, 711

F.3d at 186.

                                  FACTUAL BACKGROUND

       15.      On October 11, 2019, CTU submitted its Freedom of Information Act request to

ICE, through counsel by email. CTU’s request sought documents relating to I-9 audits in Illinois

and policy and operational documents related to such audits in Illinois and generally. Exhibit A,

FOIA request.

       16.      ICE acknowledged receipt of this request on November 6, 2019; claimed that the

request was not received until November 6, 2019; and sought a 10-day extension of the time




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period to respond to the request. ICE also indicated its intent to charge commercial requester

copying rates and misidentified the requester as CTU’s attorney, not CTU. Exhibit B, ICE

response.

       17.     On November 8, 2019, CTU responded to ICE’s email through counsel, clarifying

that CTU is the requester, that CTU is not a commercial requester, and that a fee waiver should

be granted. Exhibit C, CTU response.

       18.     On November 12, 2019, ICE sent a request for clarification, asking CTU to

narrow the date range as to investigatory documents and specify the kinds of PowerPoint

documents sought. Exhibit D, ICE clarification request.

       19.     On November 12, 2019, CTU responded to ICE’s request for clarification,

narrowing the date range as to investigatory documents and specifying the kinds of PowerPoint

documents sought. Exhibit E, CTU clarification response.

       20.     On January 2, 2020, CTU, through counsel, emailed ICE noting that the response

deadline had passed and that CTU would litigate to obtain the requested documents if necessary.

Exhibit F, CTU demand.

       21.     On January 8, 2020, ICE responded to note that ICE had received CTU’s

clarification on November 12, 2019, and that ICE was waiting for a response from its offices

regarding the requested documents. Exhibit G, ICE response to CTU demand.

       22.     Even accepting ICE’s receipt date of November 6, 2019, ICE’s deadline to

produce responsive documents under FOIA (30 working days, including ICE’s 10-day extension)

expired on December 20, 2019.

       23.     As of the date of this filing, ICE has not made a determination within the meaning

of FOIA on CTU’s FOIA request.




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       24.     Because ICE has not issued a determination within the statutorily mandated

timeframe, CTU is deemed to have exhausted its administrative remedies. 5 U.S.C. §

552(a)(6)(C); CREW, 711 F.3d at 186.

                    PLAINTIFF’S ENTITLEMENT TO A FEE WAIVER

       25.     Plaintiff CTU is entitled to a waiver of document search, review, and duplication

fees because disclosure of these records is likely to contribute significantly to a public

understanding of the operations or activities of the government and is not primarily in the

commercial interest of CTU. See 5 U.S.C. § 552(a)(4)(A)(iii); 6 C.F.R. § 5.11(k); 28 C.F.R. §

16.10(k).

       26.     CTU’s FOIA request addresses the policies, practices, methods, and outcomes of

Defendant’s I-9 audit program, particularly in Chicago and Illinois. This program affects the

rights of Latnix-Americans and concerned citizens in Chicago, Illinois, and beyond. At present,

ICE has not revealed information about how it chooses I-9 audit targets and whether such audits

discriminate against immigrants from certain nationalities or ethnic origins. Researchers have

identified a history of racial discrimination in ICE’s enforcement operations. See Bill Ong Hing,

Institutional Racism, ICE Raids, and Immigration Reform, 44 U.S.F. L. Rev. 307 308, (“The

inherent racism at the center of the ICE raids and other ICE and Border Patrol operations raises

further concern that receives little public attention. With few exceptions, the ICE operations

targeted Latinos—usually Mexicans.”) Chicagoans do not know which businesses are targeted

for ICE audits, how investigations are conducted, or the extent of racialized enforcement

practices engaged in by ICE. Such information is of significant and urgent value to the public,

and particularly to Latinx and immigrant workers and community members. Without the release




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of the records sought in Plaintiff’s FOIA Request, the public cannot assess the extent of bias or

discrimination in ICE’s operations.

       27.     Frequent articles and media coverage reveal strong and sustained public interest

ICE enforcement operations. Given the lack of publicly available information about the I-9 audit

program, the public interest in such information, and criticisms that ICE discriminates against

Latinx residents, the records sought in Plaintiff’s FOIA request will significantly contribute to

the public’s understanding of the government’s I-9 audit programs.

       28.     The disclosures sought by CTU are not in their commercial interest. CTU is a not-

for-profit organization and will use the records sought to educate and inform the public.

               CLAIM FOR RELIEF – FAILURE TO PRODUCE RECORDS

       29.     Plaintiff repeats and incorporates every above allegation in full.

       30.     Defendants’ failure to timely notify Plaintiff whether it will comply with

Plaintiff’s FOIA request violated Plaintiff’s rights to records under 5 U.S.C. § 552(a)(6)(A) and

5 U.S.C. § 552(a)(3)(A) and Defendants’ corresponding regulations.

       31.     Defendants’ failure to release responsive, non-exempt records violated Plaintiff’s

right to those records under 5 U.S.C. § 552(a)(3)(A) and Defendants’ corresponding regulations.

       32.     Defendants’ failure to make a reasonable search for responsive records violated

Plaintiffs’ rights under 5 U.S.C. § 552(a)(3)(C) and Defendant’s corresponding regulations.

                                      REQUESTED RELIEF

WHEREFORE, Plaintiff CTU respectfully requests that this court:

   1. Order Defendants to conduct a reasonable search for records responsive to Plaintiff’s

       FOIA request;

   2. Order Defendants to disclose and release the requested records in their entireties;




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3. Order Defendants to grant a full fee waiver to Plaintiff;

4. Provide for expeditious proceedings in this action;

5. Award Plaintiff costs and reasonable attorney’s fees in this action as provided by 5

   U.S.C. § 552(a); and,

6. Grant any other and further relief the Court deems appropriate.

                                                 Respectfully submitted,

                                                 /s/ Matthew V. Topic

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